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IN THE UNITED STATES DISTRICT COURT

son THE wEsTERN DISTRICT oF TENNESSEE 95
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LAURA A. TAVERN:ER, M.D., ;MD_OF?N MEMPWS

Plaintiff,
VS. NO. 03-2423-Ma

THE UNIVERSITY OF TENNESSEE
COLLEGE OF MEDICINE, ET AL.,

Defendants.

 

ORDER EXTENDING RESPONSE DEADLINES

 

Before the court is plaintiff's June 15, 2005, unopposed
motion to extend the deadlines for responding to defendants'
motions for summary judgment. For good cause shown, the motion
is granted.

Plaintiff’s deadline for responding to the motion for
summary judgment of defendants University of Tennessee College of
Medicine, John Midtlingr M.D. (in his official capacity), Henry
Herrod, M.D. (in his official capacity), Ray Walker, M.D. (in his
official and individual capacities), and Nancy Maddox (in her
official and individual capacities), is July 18, 2005.

Plaintiff’s deadline for responding to the motion for
summary judgment of defendant John Midtling, M.D. (in his
individual capacity) is July 18, 2005.

Plaintiff’s deadline for responding to the motion for

summary judgment of defendant Henry Herrod, M.D. (in his

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individual capacity) is July l9, 2005.
All other deadlines previously set in this matter remain in

effect pending further order of the court.

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lt is so ORDERED, this day of June, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 112 in
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Honorable Samuel Mays
US DISTRICT COURT

